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     Assets, LLC; CMGI Recorded Music Assets LLC; Sony Music Entertainment; and Arista
13   Music

14                             UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17
                                      )
18   UMG RERCORDINGS, INC., CAPITOL   ) Case No.: 23-cv-06522-MMC
     RECORDS, LLC, CONCORD BICYCLE    )
19   ASSETS, LLC, CMGI RECORDED MUSIC )
     ASSETS LLC, SONY MUSIC           ) PLAINTIFFS’ CERTIFICATION OF
20                                    ) INTERESTED ENTITIES OR PERSONS
     ENTERTAINMENT, and ARISTA MUSIC )
21                                    )
                 Plaintiff(s),        )
22                                    )
          vs.                         )
23                                    )
     INTERNET ARCHIVE, BREWSTER       )
24   KAHLE, KAHLE/AUSTIN FOUNDATION, )
     GEORGE BLOOD, and GEORGE BLOOD, )
25   L.P.                             )
                                      )
26                                    )
                 Defendant(s).        )
27                                    )
28                                                1
      PLAINTIFFS’ CERTIFICATION OF INTERESTED                         Case No.: 3:23-cv-06522-MMC
      ENTITIES OR PERSONS
              Case 3:23-cv-06522-MMC Document 71 Filed 01/24/24 Page 2 of 2



 1   TO THE COURT, AND TO ALL PARTIES AND COUNSEL OF RECORD:
 2          Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

 3   associations of persons, firms, partnerships, corporations (including, but not limited to, parent
 4   corporations), or other entities (i) have a financial interest in the subject matter in controversy or
 5   in a party to the proceeding, or (ii) have a nonfinancial interest in that subject matter or in a party
 6   that could be substantially affected by the outcome of this proceeding:
 7      •   Universal Music Group N.V., parent company of UMG Recordings, Inc. and Capitol
 8          Records, LLC;
 9      •   Compagnie de Cornouaille SAS and PS VII Master, L.P., owns stock in Universal Music
10          Group N.V.;
11      •   Axton Copyrights, LLC, parent company of Concord Bicycle Assets, LLC and CMGI
12          Recorded Music Assets LLC;
13      •   Sony Group Corporation, parent company of Sony Music Entertainment and Arista
14          Music.
15
16    Dated: January 24, 2024                                  Respectfully submitted,

17                                                             /s/ Danae Tinelli
                                                               Matthew J. Oppenheim
18
                                                               Corey Miller
19                                                             Danae Tinelli
                                                               OPPENHEIM + ZEBRAK, LLP
20
                                                               Noel M. Cook
21                                                             HANSON BRIDGETT LLP
22
                                                               Attorneys for Plaintiffs
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26
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28                                                      2
      PLAINTIFFS’ CERTIFICATION OF INTERESTED                                 Case No.: 3:23-cv-06522-MMC
      ENTITIES OR PERSONS
